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IN THE DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 9:15-CV-80789-kam
HONORABLE KENNETH MARRA

SOUTHERN-OWNERS INSURANCE
COMPANY,

Plaintiff,

WENTWORTH CONSTRUCTION
COMPANY, LLC; 2700 NORTH OCEAN
CONDOMINIUM ASSOCIATION, INC., ET
AL,

Defendant.

PLAINTIFF, SOUTHERN-OWNERS INSURANCE COMPANY’S MOTION FOR
FINAL SUMMARY JUDGMENT REGARDING ITS DUTYTO DEFEND

(Dispositive Motion)
COMES NOW the Plaintiff, Southern-Owners Insurance Company (“Southern-

 

Owners”), by and through its undersigned counsel and pursuant to S.D. Local Rule 56.1
and Rule 56 of the Federal Rules of Civil Procedure, and files this Motion for Final
Summary Judgment Regarding its Duty to Defend and Memorandum of Law. Southern-
Owners also relies upon its Statement of Undisputed Facts filed contemporaneously with

this Motion.
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MOTION

1. This is an action for declaratory relief in regards to coverage for Wentworth
Construction Company, LLC (“Wentworth”), Catalfumo Construction, LLC
(“Catalfumo”), and Singer Island Condominiums, Ltd., (“Singer Island”) under a policy
of insurance issued to Wentworth, for the allegations contained in the underlying action
in Palm Beach County bearing case number 2014-CA-010718 (“Underlying lawsuit”).!

2. The Underlying lawsuit involves claims for damages arising out of alleged
construction defects at the 2700 North Ocean Condominium, located in Palm Beach
County, Florida.

3. Count I of Plaintiff's Complaint for Declaratory Relief seeks a declaration
that the damages alleged in the Underlying Action did not occur within the Southern-
Owners’ policy period.

4. Count II of Plaintiff's Complaint for Declaratory Relief seeks a declaration
that the damages alleged in the Underlying Action fall within a coverage exclusion in
Southern-Owners ’policy.

5. Count III of Plaintiff's Complaint for Declaratory Relief seeks a declaration

that neither Catalfumo nor Singer Island Condominiums, Ltd., are considered Additional

 

' The issues in this case have been bifurcated, therefore, the only issue moving forward at this
time is the issue of Southern-Owners duty to defend. [DE 30]
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Insureds under the Southern-Owners’ policy in regards to the damages alleged in the
Underlying Action.

6. The complaint filed in the Underlying Action fails to provide a date that the
alleged damages occurred.

7. Southern-Owners seeks the entry of summary judgment in its favor finding
that all pertinent evidence proves that no resulting damages could have occurred during
the Southern-Owners’ policy period.

8. Additionally, Southern-Owners seeks entry of summary judgment in its
favor because all of the defects/damages alleged in the underlying complaint fall within
one of the policy exclusions.

9. Therefore, Southern-Owners has no duty to defend any party in the
underlying lawsuit.

10. In support of this Motion for Summary Judgment Southern-Owners relies
upon its Statement of Undisputed Facts (and supporting exhibits), as well as the
Memorandum of Law incorporated below.

WHEREFORE, the Plaintiff, Southern-Owners Insurance Company, respectfully
requests that this Court enter an Order granting summary judgment in favor of Southern-
Owners finding that Southern-Owners had no duty to defend any party in the underlying
lawsuit.

MEMORANDUM OF LAW
Rule 56(a) of the Federal Rules of Civil Procedure, mandates the entry of

summary judgment when there is no genuine dispute as to a material fact and the movant
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is entitled to judgment as a matter of law. The moving party is entitled to summary
judgment where the record demonstrates there is no genuine issue of material fact.
Fed.R.Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). Once a party
properly makes a summary judgment motion by demonstrating the absence of a genuine
issue of material fact, the nonmoving party must go beyond the pleadings through the use
of affidavits, depositions, answers to interrogatories and admissions on file, and designate
specific facts showing that there is a genuine issue for trial. Celotex, 477 U.S. at 324.

Summary judgment is particularly appropriate to resolve questions of insurance
coverage, since the interpretation of a written contract is a matter of law to be determined
by the court. Technical Coating Applicators, Inc. v. U.S. Fidelity and Guar. Co., 157 F.3d
843 (11th Cir. 1998); DEC Electric, Inc. v. Raphael Construction Corp., 558 So.2d 427
(Fla. 1990); Jones v. Utica Mutual Ins. Co., 463 So.2d 1153 (Fla. 1985).

In this case, Southern-Owners is entitled to summary judgment on the basis of the
plain meaning and legal effect of its policy, which does not provide coverage for the
claims which have been asserted in the Underlying lawsuit.

I. Florida Law

A federal court sitting in a diversity action applies state law using the choice of
law rules of the forum state, in this case, Florida. Travelers Prop. Cas. Co. of Am. v.
Moore, 763 F.3d 1265, 1270 (11th Cir. 2014). Florida adheres to the rule of lex loci
contractus, which, as applied to insurance contracts, provides that the law of the
jurisdiction where the contract was executed governs the rights and liabilities of the

parties in determining an issue of insurance coverage. State Farm Mut. Auto. Ins. Co. v.
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Roach, 945 So. 2d 1160, 1163 (Fla. 2006). The subject policy of insurance was issued in
Florida, therefore, Florida law applies.

Under Florida law, “if the language used in an insurance policy is plain and
unambiguous, a court must interpret the policy in accordance with the plain meaning of
the language used, so as to give effect to the policy as it was written.” Travelers Indem.
Co. v. PCR Inc., 889 So.2d 779, 785 (Fla.2004). Policy language is only considered
ambiguous if the language “is susceptible to more than one reasonable interpretation, one
providing coverage and the other limiting coverage.” Jd. quoting Auto-Owners v.
Anderson, 756 So. 2d. 29, 34 (Fla. 2000).

Here, the Southern-Owners policy provides:

b. This insurance applies to “bodily injury” and “property damage” only
if:

(2) The “bodily injury” or “property damage” occurs during the
policy period;

(CGL Coverage Form p. | of 21)
18. “Property Damage” means

a. physical injury to tangible property including all resulting loss of
use of that property.

(CGL Coverage for p. 20 of 21)
Based upon the plain language of the policy the policy only covers “property damage,”

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and only if that “property damage” “occurs during the policy period.”
Additionally, the policy contains the following exclusions:

Coverage A- Bodily Injury and Property Damage Liability
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1. Exclusions
This insurance does not apply to:

j. Damage to Property
“Property damage” to
(6) That particular part of real property on which you or any
contractors or subcontractors working directly or indirectly on
your behalf are performing operations, if the “property
damage” arises out of those operations; or
(7) That particular part of any property that must be restored,
repaired, or replaced because “your work” was incorrectly
performed on it.
Paragraph (7) of this exclusion does not apply to “property
damage” included in the “products-completed operations
hazard”. (CGL Coverage Form p. 5 of 21)
1. Damage to Your Work
“Property damage” to “your work” arising out of it or any part of it
and included in the “products-completed operations hazard.” (CGL
Coverage Form p. 6 of 21)
k. Damage to Your Product

“Property damage” to “your product” arising out of it or any part of
it. (CGL Coverage Form p. 6 of 21)

Based upon the plain language of the above referenced policy exclusions, it is clear that
the policy does not provide coverage for damage to the insureds own work or products,
whether the damages occur during ongoing operations or after operations have been
completed.
IL. The Duty to Defend Standard

It is well settled Florida law that the threshold determination regarding a liability

insurer’s duty to defend depends solely upon the allegations contained within the four
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comers of the complaint against the insured. Jones v. Florida Ins. Guar. Assoc., Inc., 908
So.2d 435 (Fla. 2005); National Union Fire Ins. Co. v. Lenox Liquors Inc., 358 So.2d 533
(Fla. 1977).
However, the Florida Supreme Court in Higgins v. State Farm Fire and Cas. Co.,
894 So.2d 5, (Fla. 2005), acknowledged that there are natural exceptions to this general
rule where a duty to defend can turn on facts not normally alleged in a complaint. Jd. at
10 n. 2. Florida District Court of Appeals have adopted circumstances warranting the
consideration of facts outside the underlying complaint. See Acosta, Inc. v. Nat'l Union
Fire Ins. Co., 39 So.3d 565 (Fla. Ist DCA 2010) (the court concluded it proper to
consider the complaint from a previously filed action when determining defense and
liability coverage with an exclusion for prior litigation).
This proposition was then bolstered by the federal court in Composite Structures,
Inc. v. Continental Ins. Co., 560 Fed.Appx. 861 (2014), wherein the Eleventh Circuit
acknowledged the analysis in Higgins and stating:
When the insurer’s claim that there is no duty to defend based on factual issues
that would not normally be alleged in the underlying complaint, “[W]e believe the
courts may entertain a declaratory action seeking a determination of a factual issue
upon which the duty to defend depends.” [citing Higgins]
Id. at 867. Therefore, the court has the discretion to review and consider facts
outside the four corner allegations of the underlying complaint, especially those on
which a duty to defend depends.

Additionally, inferences that can be made from the complaint “are not sufficient”

to trigger the duty to defend. Wackenhut Services, Inc., v. National Union Fire Ins. Co.,
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15 F. Supp. 2d 1314 (S.D. Fla. 1998); See Also, Fun Spree Vacations v. Orion Ins., 659
So. 2d 419 (Fla. 3d DCA 1995) (Florida court rejecting the argument that “reasonable
inferences” should be considered and instead holding “inferences are not sufficient.”).

Il. The underlying amended complaint does not state when the alleged damages
occurred, however, the court should determine that resultant “property
damage” due to stucco application could not have occurred during the
Southern-Owners’ policy period.

The underlying amended complaint does not contain any allegations regarding the
date the alleged damages to the property “occurred.” Additionally, it does not contain
any allegations as to the date that Wentworth actually performed work on the subject
buildings. Since this is not something that would typically be alleged in a complaint, the
court can look outside the complaint to resolve this issue.

No Florida state court appellate decision has decided which trigger applies to
determining when property damage occurs. Although the Eleventh Circuit in Carithers v.
Mid-Continent Cas. Co., 782 F.3d 1240 (11th Cir. 2015) applied the “injury in fact”
theory, it specifically noted that it was limiting its holding to the facts of that case, and
expressed no opinion on what the trigger should be where it is difficult or impossible to
determine when the property was damaged. Jd. at 1247.

Regardless of whether the court applies the “injury in fact” theory or the

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“manifestation” theory, it is clear that no resultant “property damage” “occurred” prior to

the expiration of the Southern-Owners policy period on December 1, 2006.
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Applying the “injury in fact” theory, the allegations in the complaint and the
information we know about the timing of Wentworth’s work, demonstrate that no
resultant “property damage” could have “occurred” prior to December 1, 2006.

A look at a timeline of construction demonstrates that Wentworth had just began
work on the project a few weeks prior to December 1, 2006—the date the Southern-
Owners policy was cancelled. Below is a timeline of relevant information:

e The notice of commencement of the project was issued by the City of
Riviera Beach on April 6, 2006.

e Wentworth signed the contract with Catalfumo on August 31, 2006. [See
Exhibit B to Statement of Undisputed Facts].

e Catalfumo signed the contract on September 25, 2006. [See Exhibit B to
Statement of Undisputed Facts].

e Wentworth began work on the project in November 2006. [See Exhibit C to
Statement of Undisputed Facts].

e Prior to December 1, 2006, Wentworth had only performed minimal work
on one Tower I, including prep work and only some scratch coating on
balcony ceilings of the first few floors. [See Exhibit D to Statement of
Undisputed Facts and exhibits to Exhibit D].

e Prior to December 1, 2006, Wentworth had not begun any work on Tower
II. [See Exhibit D to Statement of Undisputed Facts and exhibits to Exhibit
Dj.

e Thee Sothern-Owners’ policy was cancelled December 1, 2006. [See
Exhibit F to Statement of Undisputed Facts, 15].

e The final certificate of completion for the project was issued in January
2008. [See Exhibit E to Statement of Undisputed Facts].
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In sum, Wentworth did not begin working on the project until November 2006,
only one (1) month before the Southern-Owners policy was cancelled. Prior to December
1, 2006, Wentworth had performed only minimal work on Tower I—including corner
beads, stucco accessories, and scratch coating on some balcony ceilings of a few floors.
Wentworth had not begun any work on Tower II. [See Exhibit D, to Statement of
Undisputed Facts- Affidavit of Frank M. “Pete” Clements, III].

Exhibit 1 of the Underlying Third Amended Complain contains a list of the
alleged “stucco related defects, deficiencies, and resultant damages”, which provides:
“The following conditions have occurred in the stucco at the roofs, exterior elevation, and
site:

- Bond failure;

- Delamination;

- Cracks;

- Staining;

- Leaks and/or water intrusion.”
Bond failure, delamination, cracks, staining, leaks and/or water intrusion are not resultant
“property damage,” to property other than Wentworth’s own work. The Underlying
Action does not contain any allegations of resultant property damage to any other
property due to alleged water intrusion in the stucco. See Bradfield v. Mid-Continent Cas.
Co., 143 F. Supp. 3d 1215, 1237 (M.D. Fla. 2015)(Court noted that although underlying
complaint mentioned “water intrusion” it did not contain any allegations of actual

damages from water intrusion, and held that all of the damages listed were damages for
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repair/replacement of the defective materials and our work performed by the insured
which was not “property damage” as defined by the policy.)

Even if the Underlying Complaint did allege “resultant damage” from water
intrusion into the stucco, as of December 1, 2006 the project was in its structural shell
phase, and was not dried in. Thus, no resultant “property damage”, due to “leaks and/or
water intrusion” from the stucco, could have “occurred” during that time period. [See
Exhibit D to Statement of Undisputed Facts].

Furthermore, the only place that any cementious stucco had even been applied was
on the ceilings of some balconies on Tower I. Since the stucco, itself, had not even been
applied to the buildings exterior, there could be no resultant damages due to defective
stucco application.

If this Court were to apply the “manifestation theory” to this case, it is even more
apparent that no resultant “property damage” “occurred” during the Southern-Owners
policy period. The Underlying complaint asserts that the defects were not discovered by
the homeowners until after their purchase and occupancy of the units. The buildings were
not completed until 2008, two (2) years after the Southern-Owners policy was cancelled.
The court in Essex Builders Group, Inc. v. Amerisure Insurance Co., 485 F. Supp. 2d
1302 (M.D. Fla. 2006), held that where water damage to the apartment buildings did not
become visible until late 2001, it did not “occur” during the policy period which ended in
November 2000. The court in Essex cited to the First DCA decision in Travelers Ins. Co.
v. C.J. Gayfer's & Co., 366 So.2d 1199 (Fla. 1 st DCA 1979), which held that the time of

occurrence within the meaning of an “occurrence” policy is the time at which the injury
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first manifests itself. The court in Essex noted that if the insurer had moved for summary
judgment on this issue, the court would have granted the motion. (Rather the insured
moved for summary judgment, which was denied). Thus, applying the manifestation
theory, it is abundantly clear that no property damage occurred during the Southern-
Owners policy period.

Since the Underlying Action does not contain any allegations of “property
damage” which could have “occurred” during the Southern-Owners policy period,
Southern-Owners is entitled to summary judgment on the duty to defend.

IV. Southern-Owners has no duty to defend as all of the damages alleged in the
underlying complaint fall squarely within one of the policy’s exclusions.

Under Florida law, “if the language used in an insurance policy is plain and
unambiguous, a court must interpret the policy in accordance with the plain meaning of
the language used, so as to give effect to the policy as it was written.” Travelers Indem.
Co. v. PCR Inc., 889 So.2d 779, 785 (Fla.2004). Policy language is only considered
ambiguous if the language “is susceptible to more than one reasonable interpretation, one
providing coverage and the other limiting coverage.” Jd. quoting Auto-Owners v.
Anderson, 756 So. 2d. 29, 34 (Fla. 2000).

As previously mentioned, the Southern-Owners policy contains several exclusions
which specifically excludes coverage for damages to the insured’s own work, arising out
of it or any part of it, both during ongoing operations and after operations have been

completed. Therefore, any claim for damages for the repair and/or removal and
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replacement of the insured’s own work or product is not covered under the Southern-
Owners policy.

The Eleventh Circuit held, in an opinion following the Florida Supreme Court, that
“there is a difference between a claim for the cost of repairing or removing defective
work, which is not a claim for “property damage,” and a claim for the costs of repairing
damage caused by the defective work, which is a claim for “property damage.” Carithers,
782 F.3d at 1249; citing Fire Ins. Co. v. J.S.U.B., Inc., 979 So. 2d 871, 889 (Fla. 2007).

“Property damage” involves only “damage beyond the faulty workmanship or
defective work.” J.S.U.B., Inc., at 889. The “faulty workmanship or defective work . . .
must damage the otherwise non-defective completed project.” Jd.

Exhibit 1 to the Third Amended Complaint in the Underlying Action lists the
“stucco related defects, deficiencies, and resultant damages” that the underlying plaintiff
is alleging. This list states that “bond failure, delamination, cracks, staining, and leaks
have occurred in the stucco.” This list contains allegations of damages to the stucco work
itself, and do not actually allege any “resultant” property damage. See Bradfield, supra at
1238 (noting that although the underlying complaint mentioned “water intrusion” it did
not contain any allegations of actual damages from water intrusion, and held that all of
the damages listed were damages for repair/replacement of the defective materials and

our work performed by the insured which was not “property damage” as defined by the

policy.)
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Here, the underlying plaintiff is simply seeking damages to repair/replace defects
in the stucco itself. Such damages are specifically excluded from coverage under the
Southern-Owners’ policy as damages to the insured’s own work.

As previously stated, the Underlying Action does not contain any actual
allegations of resulting property damage due to defective stucco work. Therefore,
summary judgment should be granted to Southern-Owners on the duty to defend.

V. There is no coverage for Catalfumo Construction, LLC & Singer Island
Condominiums, Ltd. as Additional Insureds under Southern-Owners’
policy.

The Southern-Owners policy contains endorsement 55202, “Additional Insured
Exclusion-Products-Completed Operations”, which provides:

A. Under SECTION I- COVERAGES, COVERAGE A. BODILY
INJURY AND PROPERTY DAMAGE LIABILTY, 2. Exclusions, the
following exclusion is added:

2. Exclusions

This insurance does not apply to:

The Additional Insured for the “Products-completed operations
hazard.”

B. Under Section II- WHO IS AN INSURED, the following is added:
The person or organization shown in the above Schedule is an
Additional Insured, but only with respect to liability arising out of
“your work” for that insured by or for you.
Based upon this endorsement, Catalfumo and Singer Island may qualify as

additional insureds, but only for liability arising out of Wentworth’s work for them.

Since Catalfumo and Singer Island would only qualify for coverage for liability arising
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out of Wentworth’s stucco work, the same policy provisions and exclusions outlined
above apply equally to a determination of coverage for Catalfumo and Singer Island.
Therefore, summary judgment should be granted to Southern-Owners on the duty to
defend as it pertains to Catalfumo and Singer Island.
CONCLUSION
Southern-Owner’s Motion for Summary Judgment should be granted as there are
no genuine issues of material fact as to the existence of a duty to defend.
RULE 7.1 (b) RQUEST FOR HEARING
Pursuant to S.D. Local Rule 7.1(b), Southern-Owners requests that a hearing be
held on its Motion for Summary Judgment. This Motion involves the interpretation of
unique insurance coverage issues and Southern-Owners believes that a hearing will help
aid the Court in its understanding of the issues. The estimated length of the hearing would
be one (1) hour.

CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that the above was filed through the CM/ECF system
who will provide a copy to Jonathan Newberg, Esq. (jn@lydeckerdiaz.com;
sm@lydeckerdiaz.com), 1221 Brickell Ave., Nineteenth Floor, Miami, FL 33131 and
Evan Berger, Esq. (eberger@bplegal.com; alevine@bplegal.com;
mabailey@bplegal.com) 1 East Broward Blvd., Suite 1800, Ft. Lauderdale, FL 33301and
sent certified and US Mail to Wentworth Construction, 25330 S.W. Martin Highway,
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Okeechobee, FL 34974 this ae day of December, 2018.

s/ Carri S. Leininger, Esq.

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